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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                      8:10CR194

       vs.
                                                                        ORDER
JOSEPH L. LOVE,

                      Defendant.


       Defendant Joseph L. Love appeared before the court on August 5, 2016 on a Second
Petition for Offender Under Supervision [129]. The defendant was represented by Assistant
Federal Public Defender Julie B. Hansen, and the United States was represented by Assistant
U.S. Attorney John E. Higgins. Through his counsel, the defendant waived his right to a
probable cause hearing on the Second Petition for Offender Under Supervision [129] pursuant to
Fed. R. Crim. P. 32.1(a)(1). The government moved for detention. A detention hearing was
held. Since it is the defendant’s burden under 18 U.S.C. § 3143 to establish by clear and
convincing evidence that he is neither a flight risk nor a danger, the court finds the defendant has
failed to carry his burden and that he should be detained pending a dispositional hearing before
Senior Judge Strom.
       I find that the Report alleges probable cause and that the defendant should be held to
answer for a final dispositional hearing before Senior Judge Strom.


       IT IS ORDERED:
       1.      A final dispositional hearing will be held before Senior Judge Strom in Courtroom
No. 5, Third Floor, Roman L. Hruska Federal Courthouse, 111 South 18th Plaza, Omaha,
Nebraska, on September 22, 2016 at 9:30 a.m. Defendant must be present in person.
       2       The defendant, Joseph L. Love, is committed to the custody of the Attorney
General or his designated representative for confinement in a correctional facility;
       3.      The defendant shall be afforded a reasonable opportunity for private consultation
with defense counsel; and
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       4.      Upon order of a United States court or upon request of an attorney for the
government, the person in charge of the corrections facility shall deliver defendant to the United
States Marshal for the purpose of an appearance in connection with a court proceeding.




       Dated this 8th day of August, 2016

                                                    BY THE COURT:
                                                    s/ F.A. Gossett, III
                                                    United States Magistrate Judge




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